

Kamara v L.A. Fitness Intl., LLC (2023 NY Slip Op 02973)





Kamara v L.A. Fitness Intl., LLC


2023 NY Slip Op 02973


Decided on June 06, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 06, 2023

Before: Renwick, A.P.J., Kern, Singh, Scarpulla, Higgitt, JJ. 


Index No. 20603/18E Appeal No. 384 Case No. 2022-04268 

[*1]Aminu Kamara, Plaintiff-Respondent,
vL.A. Fitness International, LLC et al., Defendants-Appellants.


Goldberg Segalla, LLP, White Plains (William T. O'Connell of counsel), for appellants.
Edelman, Krasin &amp; Jaye, PLLC, Westbury (Aaron D. Fine of counsel), for respondent.



Order, Supreme Court, Bronx County (Laura G. Douglas, J.), entered on or about August 30, 2022, which granted plaintiff Aminu Kamara's motion for partial summary judgment on the issue of liability under the doctrine of res ipsa loquitur, unanimously reversed, on the facts, and the motion denied, without costs.
In this action, plaintiff was injured while exercising on a cable row exercise machine when the handle disconnected from the machine. There are issues of fact as to the element of exclusive control (see Barney-Yeboah v Metro-North Commuter R.R.,25 NY3d945 [2015]; Tora v GVP AG, 31 AD3d 341, 342 [1st Dept 2006]; see also Morejon v Rais Constr. Co., 7 NY3d 203 [2006]). It is not sufficiently established as a matter of law that the handle and its attachments were exclusively within the defendants' control (see Dermatossian v New York City Tr. Auth., 67 NY2d 219, 228 [1986]; Pavon v Rudin, 254 AD2d 143, 146 [1st Dept 1998]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 6, 2023








